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JURY TRIAL - Day 1

           UNITED STATES DISTRICT COURT FOR THE DISTRICT OF IDAHO

Judge: B. Lynn Winmill                        Deputy Clerk: Jamie Bracke
Case No: 1:18-cr-258                          Reporter: Tammy Hohenleitner
Date: June 21, 2021                           Time: 9:34 – 9:47 a.m.
Place: Boise                                          9:54 – 11:04 a.m.
                                                      11:21 – 12:14 p.m.
                                                      12:31 – 1:09 p.m.
                                                      1:55 – 3:20 p.m.
                                                      3:35 – 4:11 p.m.
                                                      4:19 – 5:08 p.m.
                                              Total time: 5 hours and 44 minutes

UNITED STATES OF AMERICA v. BABICHENKO, et al

Counsel for Government: Kate Horwitz, Christian Nafzger, and Timothy Flowers
Counsel for Pavel Babichenko: John DeFranco and Barry Flegenheimer
Counsel for Gennady Babitchenko: Jeffrey Brownson
Counsel for Piotr Babichenko: Andrew Masser and Paul Riggins
Counsel for Timofey Babichenko: Rob Lewis
Counsel for Kristina Babichenko: Greg Silvey
Counsel for Natalya Babichenko: JD Merris
Counsel for David Bibikov: Robyn Fyffe
Counsel for Anna Iyerusalimets: Melissa Winberg and Nicole Owens
Counsel for Mikhail Iyerusalimets: Ellen Smith


9:34 – 9:47 a.m. – Pretrial matters addressed outside the presence of the jury.

Morning session of Jury Selection:
9:54 a.m. – Jury present.
Introductory jury instruction.
All jurors in Courtroom sworn.
Voir dire.
Jurors passed for cause: 2, 3, 4, 6, 11, 12, 13, and 14
Jurors excused for hardship/cause: 1, 5, 7, 8, 9, 10, and 15

Lunch recess: 1:09 – 1:55 p.m.

Afternoon session of Jury Selection:
2:00 p.m. – Jury present
Introductory jury instruction.
All jurors in Courtroom sworn.
Voir dire.
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Jurors passed for cause: 17, 18, 21, 22, 24, 25, and 26
Jurors excused for hardship/cause: 16, 19, 20, 23, 27, 28, and 29

5:08 p.m. – Recess. The Court will continue Jury Selection on June 22, 2021 at 9:00 a.m.
